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                                                                           I(_r: J--
                                                                   U.S. O!SiRCT COURT
                        UNITED STATES DISTRICT COURT                  S AMA 'NIA H DI'
                        SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION                         APR —7 AM 11:56

UNITED STATES OF AMERICA                             CR 116 c_j0'j_6AJ_JTJOFAAP
                                                                             ~~A.
      V.

JOHN WILLIAMS,
ANTONIO BINNS, and
JUSTIN WASHINGTON,

      Defendants.

                                          ORDER

       Based upon the Motion to Seal, filed by the United States of America, and for

good cause shown therein, it is hereby ORDERED:

      That the above-styled Indictment, and all process issued thereunder, be

sealed until further Order of this Court, excepting only such disclosures as

necessary to effect service of process.



       So ORDERED this     J.. day of April, 2016.


                                   HON. G.  SMITH
                                             .



                                   UNITED STATES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
